        Case 1:21-cr-00175-TJK Document 330 Filed 04/04/22 Page 1 of 1




                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

                             CASE NO.: 21-CR-175 (TJK)

UNITED STATES OF AMERICA,
Plaintiff,

vs.

ENRIQUE TARRIO,
Defendant.
______________________________/

                      NOTICE OF APPEARANCE AS COUNSEL

       PLEASE TAKE NOTICE that the undersigned attorney, by his signature below,

hereby enters his appearance as counsel on behalf of the Defendant, Enrique Tarrio, for

trial purposes, in the above-styled cause and as such, requests that the Clerk of Court

forward any and all notices to the address below.

       I HEREBY CERTIFY that a true and correct copy of the foregoing was

electronically noticed through the CM/ECF system to the US Attorney’s Office on this

4th day of April, 2022.

                                                Respectfully submitted,
                                                BY: /s/Sabino Jauregui, Esq.
                                                Attorney for Mr. Enrique Tarrio
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                                                Florida Bar No. 503134
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